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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
v. : CRIMINAL NO. 02-157-03

JACOB BOGATIN

ORDER

AND NOW, this _____ day of April 2005, upon consideration of Defendant Jacob
Bogatin’s Unopposed Motion For Speedy Trial Act Continuance pursuant to 18 U.S.C.
§ 3 l6l(h)(7), it is hereby ORDERED that:

l. the trial date in the above-captioned matter is continued from April 25,
2005 to a special listing date to be set by the Court;

2. defendant Jacob Bogatin will have 30 days prior to trial to file pre-trial
motions;

3. the govemmentiwill have 7 days after the filing of defendant Jacob
Bogatin’s motions to respond to the defense motions filed with this Court;

4. defendant Jacob Bogatin will have 7 days after the government’s response
to file any replies to the government’s pleadings

IT IS FURTHER ORDERED that the delay resulting from this continuance shall
be excluded from Mr. Bogatin’s Speedy Trial calculation pursuant to 18 U.S.C. § 3l6l(h)(7).

The Court enters this Order based on the following findings:

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l. Jacob Bogatin is one of four defendants charged under the Superseding
Indictment filed in this case. The remaining three defendants are fugitives and have not been
arraigned

2. The government continues actively to seek to obtain the fugitive
defendants’ presence at trial.

3. A continuance will provide additional time for the government to locate
the fugitive defendants so that a joint trial of all the defendants may be held in this case. A joint
trial will promote judicial efficiency and economy.

4. Defendant Jacob Bogatin has not filed a motion to sever his trial from the
fugitive defendants The government has not sought a separate trial.

5. Pursuant to 18 U.S.C. § 3l6l(h)(7), a reasonable period of delay in

bringing the fugitive defendants to trial is excludable as to Mr. Bogatin.

BY THE COURT:

 

ANITA B. BRODY, J.

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

v. : CRIMINAL NO. 02-157-03

JACOB BOGATIN

DEFENDANT JACOB BOGATIN’S

UNOPPOSED MOTION FOR SPEEDY TR!AL ACT CONTINUANCE

Defendant Jacob Bogatin, by his attomeys, moves for the following relief under
18 U.S.C. § § 316l(h)(7):

(a) a continuance of trial date;

(b) a special listing of the trial with a revised pretrial motion schedule; and

(c) the exclusion from Mr. Bogatin’s Speedy Trial calculation of the delay
resulting from the continuance

ln support of this motion, defendant Jacob Bogatin states the following:

l. On February 26, 2003, a Grand Jury sitting in the Eastern District of
Pennsylvania returned a 45 count Superseding Indictment charging Semion Mogilevich, lgor
Fisherman, Jacob Bogatin, and Anatoly Tsoura with, essentially, an international RICO
conspiracy, with predicates of wire fraud, mail fraud, securities fraud, and money laundering
The Superceding Indictment alleges a complex and extensive international securities fraud

scheme dating back to 1993.

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2. On or about April 28, 2003, defendant Jacob Bogatin was arraigned and
entered a plea of not guilty to all counts of the Superseding Indictment, and has since been
preparing for trial. Mr. Bogatin’s trial is currently scheduled for April 25, 2005.l

3. Defendants Mogilevich, Fisherman, and Tsoura are fugitives and have not
yet been arraigned The government is still attempting to secure the presence of these defendants
at trial.

4. Mr. Bogatin has not filed a motion to sever his trial from the fugitive
defendants and does not intend to. Further, the government has not sought a separate trial.

5. Pursuant to section 3161(h)(7) of the Speedy Trial Act, a reasonable
period of delay in bringing one defendant to trial is excludable as to all co-defendants when no
motion for severance has been granted. 18 U.S.C. § 316l(h)(7). Section 3161(h)(7) reflects a
strong congressional preference for joint tiials. E United States v. Pena, 793 F.Zd 486, 490 (2d
Cir. 1986). E also United States v. Novak, 715 F.2d 810, 814-15 (3d Cir. 1983).

Reguest for Relief

6. Defendant Jacob Bogatin respectfully requests a continuance of his trial
date to allow the government additional time to locate the fugitive defendants so that a joint trial
of all the defendants may be held in this case. A joint trial will serve the interests of “judicial
efficiency by avoiding duplicative proof at successive trials.” _RQIE, 793 F.Zd at 490.

7. The delay from this continuance is properly excluded from Mr. Bogatin’s

Speedy Trial calculation pursuant to 18 U.S.C. § 316l(h)(7).

 

On June 17, 2003, this Court declared this matter a complex case and granted the
govemment’s Motion For Speedy Trial Act Continuance And For Special Listing. On
May 14, 2004, this Court granted Jacob Bogatin’s Motion For Speedy Trial Act
Continuance and set the jury trial date for April 25`, 2005.

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8. The government does not oppose this motion.

WHEREFORE defendant Jacob Bogatin respectfully requests that this Court
grant his unopposed motion for relief under 18 U.S.C. § 3161(h)(7), including a continuance,
exclusion of time from Speedy Trial Act calculations, a special listing, and a revised motion

schedule.

Dated: April 8, 2005 S/ Eric W. Sitarchuk
Eric W. Sitarchuk, Esquire
Jessica Natali, Esquire
Shannon Quill, Esquire
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1735 Market Street, 51St Floor
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Attomeys for defendant Jacob Bogatin

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CERTIFICATE OF SEBVICE
l hereby certify that on April 8, 2005, a copy of Defendant Jacob Bogatin’s

Unopposed Motion For Speedy Trial Act Continuance was served by electronic and first class
mail, postage prepaid, upon:

Suzanne Ercole
Assistant United States Attorney
United States Attorney’s Office
Eastern District of Pennsylvania

615 Chestnut Street
Suite 1250
Philadelphia, PA 19106-4476

s/ Eric W. Sitarchuk
Eric W. Sitarchuk

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